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                                                                                                                                                                                                                                                   STRALEY AVE
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                                                                                                               WILDY AVE                                                                                                                                                                                                     MCPARLIN AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               KE
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  REIMAN ST                                                                                                                                                                                                                                                                                                                                                                                                  GRUNER RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1ST ST                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Z URB R
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